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 1             IN THE UNITED STATES DISTRICT COURT FOR THE

 2                     EASTERN DISTRICT OF CALIFORNIA

 3

 4   UNITED STATES OF AMERICA,

 5                  Plaintiff,              CR. NO. S-06-0337 EJG

 6             v.

 7   PHILIP YU, et al.,

 8                  Defendants.
                                    /
 9
     UNITED STATES OF AMERICA,
10
                    Plaintiff,              CR. NO. S-06-0390 EJG
11
               v.
12
     ZHI HUE XUE, et al.,
13
                    Defendants.
14                                  /

15   UNITED STATES OF AMERICA,

16                  Plaintiff,              CR. NO. S-07-0025 WBS

17             v.

18   WEI JEI MA, et al.,

19                  Defendants.
     _____________________________/
20
     UNITED STATES OF AMERICA,
21
                    Plaintiff,              CR. NO. S–09-0438 GEB
22
               v.
23
     DICKSON HUNG, et al.,                  RELATED CASE ORDER; ORDER
24                                          SETTING STATUS CONFERENCE
                    Defendants.
25   _____________________________/

26                                      1
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 1        Examination of the above-entitled actions reveals that they

 2   are related within the meaning of Eastern District Local Rule 83-

 3   123 because they arise from a common set of facts and out of the

 4   same law enforcement investigation.      Accordingly, assignment of

 5   the matters to the same judge is likely to effect a substantial

 6   saving of judicial effort and be convenient for the parties.

 7        The parties should be aware that relating the cases under

 8   Local Rule 83-123 merely has the result that the actions are

 9   assigned to the same judge; no consolidation of the actions is

10   effected.   Under the regular practice of this court related cases

11   are generally assigned to the judge to whom the first filed

12   action was assigned.

13        IT IS THEREFORE ORDERED that the action entitled Cr. No. S-

14   09-0438 GEB is hereby reassigned to Judge Edward J. Garcia for

15   all further proceedings.    All dates set in this case before Judge

16   Burrell are VACATED.     Henceforth, the caption on documents filed

17   in the reassigned case shall be shown as Cr. No. S-09-0438 EJG.

18        IT IS FURTHER ORDERED that the Clerk of the Court make

19   appropriate adjustment in the assignment of criminal cases to

20   compensate for this reassignment.

21        IT IS FURTHER ORDERED that a status conference in Cr. No. S-

22   09-0438 EJG will be held at 10:00 a.m., November 20, 2009.

23        IT IS SO ORDERED.

24        November 16, 2009            /s/ Edward J. Garcia
                                      EDWARD J. GARCIA, JUDGE
25                                    UNITED STATES DISTRICT COURT

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